 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 WESTERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number (if known):                                     Chapter       7                                         amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        04/19

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.   Debtor's name                     Hammer Down Oilfield Services, LLC

2.   All other names debtor used
     in the last 8 years

     Include any assumed names,
     trade names and doing
     business as names


3.   Debtor's federal Employer
     Identification Number (EIN)           8      1      –      4      4        1    0         9   2     9

4.   Debtor's address                  Principal place of business                                     Mailing address, if different from principal
                                                                                                       place of business

                                       6351 Hwy 36 South
                                       Number         Street                                           Number     Street


                                                                                                       P.O. Box



                                       Brenham                             TX       77833
                                       City                                State    ZIP Code           City                          State   ZIP Code


                                                                                                       Location of principal assets, if different
                                       Washington                                                      from principal place of business
                                       County



                                                                                                       Number     Street




                                                                                                       City                          State   ZIP Code

5.   Debtor's website (URL)

6.   Type of debtor                            Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify:




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Debtor Hammer Down Oilfield Services, LLC                                                 Case number (if known)

7.   Describe debtor's business       A. Check one:

                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above


                                      B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in
                                           15 U.S.C. § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                      C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                           http://www.uscourts.gov/four-digit-national-association-naics-codes

                                            2      1       1      1

8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
     debtor filing?                        Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                                           Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                           insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                           4/01/22 and every 3 years after that).

                                                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                               debtor is a small business debtor, attach the most recent balance sheet,
                                                               statement of operations, cash-flow statement, and federal income tax return or if
                                                               all of these documents do not exist, follow the procedure in
                                                               11 U.S.C. § 1116(1)(B).

                                                               A plan is being filed with this petition.

                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                               Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                               form.

                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                               Rule 12b-2.

                                           Chapter 12

9.   Were prior bankruptcy                 No
     cases filed by or against
     the debtor within the last 8          Yes. District                                          When                      Case number
     years?                                                                                                MM / DD / YYYY

                                                District                                          When                      Case number
     If more than 2 cases, attach a
                                                                                                           MM / DD / YYYY
     separate list.
                                                District                                          When                      Case number
                                                                                                           MM / DD / YYYY



Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
Debtor Hammer Down Oilfield Services, LLC                                                Case number (if known)

10. Are any bankruptcy cases               No
    pending or being filed by a
    business partner or an                 Yes. Debtor                                                        Relationship
    affiliate of the debtor?
                                                  District                                                    When
    List all cases. If more than 1,                                                                                          MM / DD / YYYY
    attach a separate list.                       Case number, if known


                                                  Debtor                                                      Relationship

                                                  District                                                    When
                                                                                                                             MM / DD / YYYY
                                                  Case number, if known


11. Why is the case filed in          Check all that apply:
    this district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                           days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                           any other district.

                                           A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                           district.


12. Does the debtor own or                 No
    have possession of any                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
    real property or personal                   needed.
    property that needs
                                                Why does the property need immediate attention?                 (Check all that apply.)
    immediate attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                     safety.
                                                     What is the hazard?

                                                     It needs to be physically secured or protected from the weather.

                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                     related assets or other options).

                                                     Other


                                                Where is the property?
                                                                              Number      Street




                                                                              City                                      State        ZIP Code

                                                Is the property insured?

                                                     No
                                                     Yes. Insurance agency

                                                              Contact name

                                                              Phone


              Statistical and adminstrative information
13. Debtor's estimation of            Check one:
    available funds                       Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                          creditors.



Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 3
Debtor Hammer Down Oilfield Services, LLC                                                Case number (if known)

14. Estimated number of                     1-49                               1,000-5,000                               25,001-50,000
    creditors                               50-99                              5,001-10,000                              50,001-100,000
                                            100-199                            10,001-25,000                             More than 100,000
                                            200-999

15. Estimated assets                        $0-$50,000                         $1,000,001-$10 million                    $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                 More than $50 billion

16. Estimated liabilities                   $0-$50,000                         $1,000,001-$10 million                    $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                 More than $50 billion

              Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
    authorized representative             this petition.
    of debtor
                                          I have been authorized to file this petition on behalf of the debtor.

                                          I have examined the information in this petition and have a reasonable belief that the information is
                                          true and correct.


                                       I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on 09/11/2019
                                                      MM / DD / YYYY

                                          X /s/ x Timothy Jimenez                                   x Timothy Jimenez
                                              Signature of authorized representative of debtor      Printed name

                                          Title xManager

18. Signature of attorney                X /s/ Mark C. Taylor                                                     Date     09/11/2019
                                            Signature of attorney for debtor                                              MM / DD / YYYY

                                            Mark C. Taylor
                                            Printed name
                                            Waller Lansden Dortch & Davis, LLP
                                            Firm name
                                            100 Congress Avenue, 18th Floor
                                            Number          Street



                                            Austin                                                     TX                   78701
                                            City                                                       State                ZIP Code


                                            (512) 685-6400                                             mark.taylor@wallerlaw.com
                                            Contact phone                                              Email address
                                            19713225                                                   TX
                                            Bar number                                                 State




Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 4
                                      UNITED STATES BANKRUPTCY COURT
                                         WESTERN DISTRICT OF TEXAS
                                               AUSTIN DIVISION
  IN RE:   Hammer Down Oilfield Services, LLC                                       CASE NO

                                                                                   CHAPTER     7

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 9/11/2019                                           Signature     /s/ x Timothy Jimenez
                                                                     x Timothy Jimenez
                                                                     xManager


Date                                                     Signature
2A Energy Services
493 Old Adams Road
Pleasanton, TX 78064



325 Trucking
2438 Industrial Blvd
Abilene, TX 79605



4-Star Hose & Supply, Inc
P.O. Box 541356
Dallas, TX 75354



Absolute Control, LLC
41212 Park 290, Suite A
Waller, TX 77484



Accountemps
P.O. Box 743295
Los Angeles, CA 90074



Acme Truck Line
P.O. Box 183
Harvey, LA 70059



Ambit Energy
P.O. Box 660462
Dallas, TX 75266



AMD Energy Services, LLC
1120 S FM 1788
Midland, TX 79706-2635



American Eagle Logistics, LLC
P.O. Box 3307
Lafayette, LA 70502
Angel Safety Supply, LLC
P.O. Box 2208
Decatur, AL 35609



Arens Services LLC
7800 Highway 290 E
Chappell Hill, TX 77426



Arens Services, LLC
7800 Highway 290 E
Chappell Hill, TX 77426



ASAP Industries Manufacturing, Inc.
P.O. Box 938
Bourg, LA 70343



ASCO Equipment
2800 US 290
Brenham, TX 77833



AT&T 4468 Corp Internet
P.O. Box 5019
Carol Stream, IL 60197-5019



Atchafalaya Measurement Inc
P.O. Box 677208
Dallas, TX 70583



B & J Wholesale, LLC.
7999 FM 359
Pattison, TX 77423-9787



B&D Flowback, LLC
P.O. Box 279
Raceland, LA 70394
Bank of Brenham
P.O. Box 606
Brenham, TX 77834



BBVA USA
P.O. Box 192
Birmingham, AL 35201-0192



BCDE Rentals, LLC
P.O. Box 479
Uvalde, TX 78802



Bearing Service & Supply, Inc.
P.O. BOX 7750
Shreveport, LA 71137-7750



Bell's Towing & Recovery
12028 Mansfield Road
Keithville, LA 71047



Best Flow Line Equipment, L.P.
9298 Baythorne Drive
Houston, TX 77041



Best Western Inn of Brenham
1503 Hwy 290E
Brenham, TX 77833



Bestway
16030 Market Street
Channelview, TX 77530-4512



Bestway Oilfield
16030 Market Street
Channelview, TX 77530-4512
Blahuta Advertising
P.O. Box 270
Hallettsville, TX 77964



Blaze Sales & Service
7824 Scott Street
Houston, TX 77051



BLR
P.O. Box 5094
Brentwood, TN 37024



Boland Field Services
P.O. Box 314
Gardendale, TX 79758



Bold Production Services, LLC
10880 Alcott Drive, Suite A
Houston, TX 77043



Brenham L-P Gas, Inc.
302 W Main Street
Brenham, TX 77833-3659



BT & S Trucking Services, LLC
2201 Myrtle Street
Odessa, TX 79761



Buffalo Supply & Equipment, Inc.
P.O. Box 417
Scottsville, TX 75688-9998



BulletProof Ironworks LLC
P.O. Box 60601
Midland, TX 79711
Bullgang Tools, LLC
2450 Hwy 290 E
Brenham, TX 77833



Catalyst Financial
1136 N Kirkwood
Houston, TX 77043



Certified Laboratories
P.O. Box 971269
Dallas, TX 75397-1269



Certified Pressure Testing, LLC
2019 State Route 821
Bldg. #25
Marietta, OH 45750


Chaparral Place Apartments
1121 W Oaklawn Road
Pleasanton, TX 78064



Chem Station
1213 ESI Drive
Springdale, AR 72764



Cintas #547
P.O. Box 650838
Dallas, TX 75265-0838



Circle M Energy
P.O. Box 1100
Palestine, TX 75802



CK Enterprises, LLC
5001 W. Wadley Avenue
Apt. M215
Midland, TX 79707-5168
Clean Image
42 S. Shasta Bend Circle
The Woodlands, TX 77389



Comfort Inn & Suites
2235 SE Loop
Carthage, TX 75633



Cross Fire Express MC#517403
f/b/o Catamount Financial LP
PO Box 37089
Houston, TX 77237


Cross Roads Oil Supply, Ltd.
P.O. Box 1546
El Campo, TX 77437



Cyclone Rentals, Inc.
2927 FM 999
Gary, TX 75643



Dalton Anders
220 Laurel Lane
Lyons, TX 77863



Dandy Products Inc
1026 Joseph Street
Shreveport, LA 71107



Dayliter Rentals, LLC
dba PLS Equipment Rentals
10400 Vineyard Blvd Ste C
Oklahoma City, OK 73120


DeRouen Express Services LLC
P.O. Box 60593
Midland, TX 79711
Diamond P Lease & Well
7981 FM 141 South
Dime Box, TX 77853



DISA Global Solutions, Inc.
Dept 3731
PO Box 123731
Dallas, TX 75312-3731


Distribution Now
P.O. Box 200822
Dallas, TX 75320



Energize Electric
P.O. Box 164
New Ulm, TX 78950



Enterprise Lease
P.O. Box 800089
Kansas City, MO 64180-0089



Enterprise Rental
21503 Springs Plaza Drive
Spring, TX 77388



Euler Hermes Services
800 Red Brook Blvd
Owings Mills, MD 21117



Fairway Transport LLC
P.O. Box 11707
New Iberia, LA 70562



Faith Rentals
P.O. Box 445
Boling, TX 77420
Ford Credit
P.O. Box 650575
Dallas, TX 75265-0575



Full Boar Oil Tools, Inc.
P.O. Box 2505
Longview, TX 75606



GBC Money Group
P.O. Box 8010
Midland, TX 79708



Gilliam & Associates, PC
11010 Coachlight Street
Suite 200
San Antonio, TX 78216-3935


Golden Ranch Energy Services
P.O. Box 280
Raceland, LA 77834



Gulf Pro Services, LLC
P.O. Box 228
Houma, LA 70361



Gulf South Energy Services LLC
5321 La Chute Place
Keithville, LA 71047



Gulfstream Services, Inc.
DEPT 3254
PO Box 123254
Dallas, TX 75312-3254


Harcos Oilfield Services, LLC
P.O. Box 479
Uvalde, TX 78802
High Pressure Rental & Supply, LLC
P.O. Box 9037
Corpus Christi, TX 78469



Holiday Inn Express & Suites Bossier Cit
7970 E Texas Street
Bossier City, LA 71111



HYTORC
333 Route 17 North
Mahwah, NJ 7430



I & S Oil Services, LLC
P.O. Box 872
Odessa, TX 79760



Indeed Oilfield Supply
11993 FM 529
Houston, TX 77041



Indigo Flowback Solutions, LLC
900 C South State Street
Madisonville, TX 77864



Industrial Safety Products, LLC
P.O. Box 62391
Houston, TX 77205



Integrity Gas Services, LLC
7906 N Sam Houston Pkwy W
Suite 200
Houston, TX 77064


Internal Revenue Service
Centralized Insolvency Office
P.O. Box 7346
Philadelphia, PA 19101-7346
Iron Cross
P.O. Box 445
Boling, TX 77420



Iron Oak Services
P.O. Box 2861
Ruston, LA 71273



Isaacs Transport
13452 FM 206
Tyler, TX 75709



J & M Premier Services Inc
12969 N US Hwy 79
Palestine, TX 75801



Jet Hose & Packing, Inc.
619 2nd Street
Pleaseanton, TX 78064



K & B Oilfield Services, Inc.
P.O. Box 2384
Henderson, TX 75653



KAOS, LLC
9266 Ben Tirran Ct
Colorado Springs, CO 80908



Korth & Linke Welding
P.O. Box 1213
Brenham, TX 77834



La Noria Properties LLC
125 Encino Avenue
San Antonio, TX 78209-5670
LandStar Ranger
P.O. Box 784293
Philadelphia, PA 19178



Lary Archer & Associates
P.O. Box 1468
Mineral Wells, TX 76068



Lass Corporation, The
104197 Town and Country Way
Suite 420
Houston, TX 77024


LaTEXO Transport, LLC
P.O. Box 154707
Lufkin, TX 75915



Lawson Equipment Rental, LLC
3222 McCarroll Drive
Baton Rouge, LA 70809



Leaf
1720A Crete Street
Moberly, MO 65270



Lime Instruments LLC
1187 Brittmoore Road
Houston, TX 77043



Live Oak Environmental
4320 Marlena Street
Bossier City, LA 71111



LLMH, LLC
820 Holston Hills Drive
College Station, TX 77845
M&M Disposal
P.O. Box 12
Stanton, TX 79782



M&O Investments
1040 Pearl Drive
Bossier City, LA 71111



Manrique, Arnold
P.O. Box 3130
Alice, TX 78333



Mark Jensen
P.O. Box 573
Brenham, TX 77834



Martel, Rodney
P.O. Box 181
Nome, TX 77629



Matheson Tri-Gas, Inc.
Dept 3028, P.O. Box 123028
Dallas, TX 75312



Maverick Blasting & Services, LLC
P.O. Box 39171
Shreveport, LA 71133



Maxim Energy Services
1085 Northside Road
Victoria, TX 77904



Meyer
6733 Leopard Street
Corpus Christi, TX 78409
MK Hauling, LLC
815 Greene Road
Minden, LA 71055



Mobilease
P.O. Box 925628
Houston, TX 77292-5628



Moore's Retread & Tire of The Ark-La-Tex
3327 E Texas Street
Bossier City, LA 71111



Napa Auto Parts
P.O. Box 589
Brenham, TX 77834



National Flare & Equipment
1190 Destrehan Avenue
Harvey, LA 70058



Oil Patch Group
P.O. Box 204667
Dallas, TX 75320-4667



P & W Sales
405 State Hwy 135 N
Kilgore, TX 75662



Page Wire Rope & Slings, Inc.
P.O. Box 41047
Baton Rouge, LA 70835



PEC
233 General Patton Avenue
Mandeville, LA 70471
Perez DataNet LLC
P.O. Box 3349
Hobbs, NM 88240



Pettigrew Specialty Company, Inc.
P.O. Box 7204
Shreveport, LA 71107



Piper Oilfield Products
P.O. Box 94520
Oklahoma City, OK 73143



PL Testing
P.O. Box 1107
Giddings, TX 78942



Plusco, Inc.
14518 Henry Rd
Houston, TX 77060-5621



Praxair Distribution, Inc.
Dept 0812, P.O. Box 120812
Dallas, TX 75312



Procurify
300 - 455 Granville Street
Vancouver, BC V6C 1T1 CANADA



Prodigal Pressure Solutions
2672 Doc Steed Road
Minden, LA 71055



Production Equipment Sales & Services
P.O. Box 3162
Midland, TX 79702
Production Technology & Services, Inc.
1463 Hwy 6 South
Houston, TX 77077



ProFlow, LLC
2745 S Hwy 171
Cleburne, TX 76031



Pruitt Production Services, Inc.
P.O. Box 808
Giddings, TX 78942



Pryor Sales & Service
901 E Juan Linn
Victoria, TX 77901



R&S Supply
3556 New Monroe Road
Bastrop, LA 71220



Raven Recert, LLC
P.O. Box 14976
Odessa, TX 79768



Razor Services INC
2927 FM 999
Gary, TX 75643



Reliable Energy Solutions
15201 Mason Road
Suite 1000-330
Cypress, TX 77433


Reliable Specialty Company, The
P.O. Box 1627
Magnolia, TX 77353
Republic Services #473
P.O. Box 78829
Phoenix, AZ 85062-8829



Rig Runner
P.O. Box 206546
Dallas, TX 75320-6564



Rock City Services, LLC
P.O. Box 1220
Greenbriar, AR 72058



Rockin K Hauling, LLC
29568 Kloecker Road
Hempstead, TX 77445



Rocking W Energy Services
P.O. Box 458
Banquete, TX 78339



Rosenblatt Law Firm, The
16731 Huebner Road
San Antonio, TX 78248



Roughneck Rentals, LLC
P.O. Box 748
Minden, LA 71508-0748



Russell Express, LLC
21310 Binford Road
Waller, TX 77484



Russell Logistics, LLC
21310 Binford Road
Waller, TX 77484
RWDY Consulting, Inc.
Dept. 96-0098
Oklahoma City, OK 763196-0098



S & H Energy, LLC
P.O. Box 9610
Midland, TX 79708



Salazar Service and Trucking Corporation
5511 Starboard Drive
Midland, TX 79706



Sand Separation Solutions LLC
P.O. Box 302857
Austin, TX 78703



Seton Identification Products
P.O. Box 95904
Chicago, IL 60694-5904



Sierra Services, LLC
P.O. Box 520
Jourdanton, TX 78026



Sky Vacuum Services LLC
4213 Sligo Road
Haughton, LA 71037



South Texas Specialties, LLC
6408 Crescent Loop
Unit 1
Laredo, TX 78041


Super 8 by Wyndham
2209 East Hwy 290
Brenham, TX 77833
Swan Lake Rental
3396 Swan Lake Road
Bossier City, LA 71111



T3 Truck N Trailer
1808 Highway 105
Brenham, TX 77833



Target Lodging
2170 Buckhorne Place
Suite 440
The Woodlands, TX 77380


Telephonics Unlimited, Inc.
P.O. Box 1404
Humble, TX 77347-1404



TerraFlow Services, LLC
P.O. Box 53367
Midland, TX 79710



The Oasis at Pavilion Park
110 Pavilion Pkwy
Midland, TX 79705



Thrubore Valves, LLC
5510 FM 1488 Road
Magnolia, TX 77354-2439



Tiger Safety
P.O. Box 733254
Dallas, TX 75373



Titan Test Pumps, LLC
P.O. Box 1419
El Campo, TX 77437
Triangle Blueprint Co.
1123 Calder Ave
Beaumont, TX 77701



Trusted Employees
7900 West 78th Street
Suite 400
Edina, MN 55439


TSI Flow Products
P.O. Box 9182
Corpus Christi, TX 78469



Twin Services
4809 W 42nd
Suite A
Odessa, TX 79764


United States Trustee
903 San Jacinto, Ste. 230
Austin, TX 78701



United Vision Logistics, LLC
P.O. Box 975357
Dallas, TX 75397



Valvoline, LLC
P.O. Box 7400513
Chicago, IL 60674-8513



Vanguard Oilfield Services, LLC
1901 Morse Street
Houston, TX 77019



Verizon Wireless
P.O. Box 489
Newark, NJ 7101
W4 Consulting, LLC
P.O. Box 39171
Shreveport, LA 71133



Wex 0798-7
P.O. Box 4337
Carol Stream, IL 60197



Zach's Lawns and Landscaping
3500 North Briarwood Drive
Brenham, TX 77833
